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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
_______________________________________

DENISE PAYNE,

                      Payne,

       v.
                                                   Civil Action No. 18-cv-1442 (GTS/ML)
CORNELL UNIVERSITY,

                  Defendant.
_______________________________________

   PAYNE’S RESPONSE TO DEFENDANT’S STATEMENT OF MATERIAL FACTS
                PURSUANT TO NDNY LOCAL RULE 7.1(a)(3)

       Payne Denise Payne (“Payne”), in opposition to defendant Cornell university’s

(“Defendant’s”) motion for summary judgment, pursuant to Rule 56 of the Federal Rules of Civil

Procedure and Local Rule 7.1 of the Local Rules of Practice for the Northern District of New

York,, submits the following Response to Defendant’s Statement of Material Facts:

                                      Procedural History

       1.     Payne Denise Payne (“Payne”) commenced this action by filing a Summons with

Notice in state court on November 7, 2018. Because of the federal questions referred to in the

Notice, Cornell removed the action to this Court and demanded service of a complaint. Ex. YY

attached hereto, Declaration of Adam Pence, dated March 2, 2020 (“Pence Decl.”), ¶ 3.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 1.



       2.     Payne filed and served her Complaint on January 2, 2019, asserting four causes of

action under the New York State Human Rights Law and four causes of action under the federal
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Americans with Disabilities Act. Ex. YY, Pence Decl. ¶ 4; Complaint, Exhibit A attached

hereto.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 2.



          3.     Cornell filed and served its Answer on March 4, 2019, denying all allegations of

discrimination and retaliation and asserting affirmative defenses of failure to state a viable claim,

failure to exhaust administrative remedies, and a time bar under federal law as to certain

allegations. Ex. YY, Pence Decl. ¶ 5; Answer, Ex. B attached hereto.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 3.



          4.     Prior to the filing of this action, on or about March 19, 2018, Payne had filed a

Charge of Discrimination with the Equal Employment Opportunity Commission (“EEOC”),

alleging disability discrimination against Cornell in connection with her diagnosis and treatment

for breast cancer. She alleged discrimination from February 1, 2017 through March 13, 2018,

and alleged a continuing violation. Her charge was cross-filed with the New York State Division

of Human Rights. Ex. A, Complaint ¶¶ 5, 29; Ex. B, Answer ¶ 5; Ex. YY, Pence Decl. ¶ 7; Ex.

XX, attached hereto, Declaration of Katherine Doxey, dated February 27, 2020 (“Doxey Decl.”),

¶ 40; EEOC Charge, Ex. C attached hereto.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 4.




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       4.1. Payne initially filed an inquiry with the EEOC on August 15, 2017 after her

            approved disability accommodations at Cornell were not being properly administered

            and were, in fact, being denied to her. See Declaration of Gabrielle Vinci (“Vinci

            Decl”), Ex. 26 (Declaration of Plaintiff Denise Payne (“Payne Decl.”)) at ¶¶ 56-57.

       4.2. Cornell was on notice of Payne’s contact with the EEOC in August of 2017. See Id.



       5.      The EEOC investigated Payne’s allegations, and Cornell provided hundreds of

pages of documentation regarding its policies and its administration of those policies to benefit

Payne during the course of her employment following her cancer diagnosis in June 2016. The

EEOC issued a Dismissal and Notice of Rights on or about August 13, 2018, including a

determination that “[b]ased upon its investigation, the EEOC is unable to conclude that the

information obtained establishes violations of the statutes.” Ex. YY, Pence Decl. ¶¶ 8-9; Ex.

XX, Doxey Decl. ¶¶ 42-46; EEOC Dismissal and Notice of Rights, Ex. D attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 5 but objects to Defendant’s misrepresentation of the

       EEOC’s statements in the Dismissal and Notice of Rights. The Dismissal Notice also

       states: “This does not certify that the respondent is in compliance with the statutes.” See

       Vinci Decl., Ex. 5; Def. Ex. C.



       6.      Among the policies Cornell provided to the EEOC during the investigation were:

               a. Policy 6.9 – Time Away from Work: Medical Leaves for Nonacademic Staff;

               b. Policy 6.13 – Disability Accommodation Process for Faculty and Staff; and

               c. Policy 6.6.13 – Flexibility in the Workplace.



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Ex. YY, Pence Decl. ¶ 9; Ex. XX, Doxey Decl. ¶ 43; Ex. WW attached hereto, Declaration of

Julie Weaver, dated February 25, 2020 (“Weaver Decl.”), ¶¶ 7, 12, 16; Policy 6.9, Ex. E; Policy

6.13, Ex. F; and Policy 6.6.13, Ex. G (all attached hereto).

       Payne’s Response: Payne’s Response: For the purpose of summary judgment only,

Payne does not dispute the facts in Defendant’s paragraph 6.



  Payne Complained About Unfairness and “Retaliation” Even Before Cancer Diagnosis

       7.      In November 2013, Cornell hired Payne to work as an administrative assistant in

the Office of Research, Integrity, and Assurance, a central administrative office that served all of

Cornell’s fourteen colleges and schools. Ex. A, Complaint ¶¶ 10, 12; Ex. B, Answer ¶¶ 10, 12.

       Payne’s Response: Payne’s Response: For the purpose of summary judgment only,

       Payne does not dispute the facts in Defendant’s paragraph 7.



       8.      During her time in this position, Payne complained to Human Resources (“HR”)

that she was not being treated fairly and had been improperly passed over for promotion based

on “impermissible motivations.” Her complaints were unfounded. Ex. A, Complaint ¶¶ 17-19;

Ex. B, Answer ¶¶ 15-16.

       Payne’s Response: Payne’s Response: For the purpose of summary judgment only,

       Payne does not dispute that Payne complained to HR but disputes that such complaints

       were unfounded.

       8.1. Payne rightfully complained to Cornell of actions she perceived to be unlawful on

       the part of her then manager. See Payne Decl. at ¶¶ 2-3.




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       9.       In February 2015, Payne accused her supervisor of retaliation for denying a

vacation request. Despite the supervisor’s attempts to find a suitable resolution, Payne emailed

the HR Director at the time, complaining of retaliation in the form of a “barrage of emails …

questioning details of my projects and work, micromanaging me.”                This complaint was

unfounded. Ex. XX, Doxey Decl. ¶ 45; February 2-3, 2015 email chain, Ex. Z attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       that Payne complained to HR but disputes that such complaints were unfounded. Payne

       rightfully complained to Cornell of actions she perceived to be unlawful on the part of

       her then manager. See Payne Decl. at ¶¶ 2-3.



       10.      After fewer than two years in her role as an administrative assistant, in August

2015, Payne accepted a part-time position working 20 hours a week as a research aide in the

Business Simulation Lab (“BSL”) in the Johnson Graduate School of Management. This was a

nonexempt band C position. Ex. A, Complaint ¶ 23; Ex. B, Answer ¶ 17; Ex. Y attached hereto,

Payne’s Responses and Objections to Cornell’s Interrogatories, p. 5.; Ex. XX, Doxey Decl. ¶¶ 3-

4, 44(a); August 14, 2015 Offer Letter, Ex. AA attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 10.

       10.1.    Payne sought a position outside of the Office of Research, Integrity, and

             Assurance after discussions with Defendant’s Ombudsman. See Payne Decl. at ¶ 4.

       10.2.    During her interview for the BSL role, Payne was assured that the role would

             evolve into a full-time position and that part of her responsibilities would be to shape

             the role into such full-time position within approximately one year. In addition, the



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             new projected full-time role was anticipated to be compensated at a higher pay band

             and scale. Payne accepted the part-time role under these conditions. See Payne Decl.

             at ¶¶ 4-5; Vinci Decl., Ex 1 (Plaintiff’s Complaint (“Compl.”)) at ¶¶ 23-26.



       11.      At Cornell, both hourly and salaried jobs are classified based on pay bands, with

the lowest level being “band A” and the highest level being “band I.” Ex. U attached hereto,

Katherine Doxey Deposition Transcript (“Doxey Tr.”) 20:17-18, 24:19-25:8, 25:12-14; Ex. XX,

Doxey Decl. ¶ 5.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 11.



       12.      Generally, bands A through D are hourly non-exempt employees (meaning they

are eligible for overtime pay if they work beyond their scheduled hours); those in band E are a

mix of hourly and salaried employees depending on the level of responsibility; and bands F and

above are generally exempt, salaried employees with decision-making authority and

responsibilities that impact the University and beyond. Ex. U, Doxey Tr. 25:21-26:3; Ex. XX,

Doxey Decl. ¶ 5.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 12.



       13.      The more complex the position the higher the pay band. Ex. U, Doxey Tr. 25:9-

11; Ex. XX, Doxey Decl. ¶ 5.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 13.



       14.    After Payne had been in this role for approximately eight months, the faculty

committee and faculty director of BSL concluded that they had hired at the wrong job level to

meet faculty needs. Ex. U, Doxey Tr. 20:20-21:6.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 14.



       15.    The research aide’s duties were geared toward relatively low-level administrative

work: finding, tracking hours of, and paying participants in experiments; scheduling the

experiments on the BSL calendar; testing and running the surveys; training student employees;

and maintaining equipment and supplies. Ex. A, Complaint ¶ 15; Ex. B, Answer ¶ 14; Ex. U,

Doxey Tr. 20:8-21:6; Ex. XX, Doxey Decl. ¶ 4.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 15.



       16.    On reflection, the faculty concluded that they needed an employee with higher

technical skills – someone who could design and program their surveys in multiple software

programs. Ex. U, Doxey Tr. 20:20-21:6; Ex. XX, Doxey Decl. ¶ 4.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 16.




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       17.     Payne did not have the design and programming skills to fulfill these higher-level

needs, and was not familiar with the software some of the new faculty wanted to use, so she was

not a good fit for the position as it was being mapped out to meet evolving business needs. Ex.

U, Doxey Tr. 20:20-21:6; Ex. XX, Doxey Decl. ¶ 4.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 17. Payne did have the requisite skills to fulfill Cornell’s

       alleged higher-level needs and had experience using several applicable software

       platforms and had, in fact, been designing and launching studies in multiple platforms.

       See Payne Decl. at ¶ 6.



       18.     In addition, Payne was creating tension within the BSL: she was often defensive

and did not take feedback well from the faculty members with whom she worked. Ex. U, Doxey

Tr. 20:20-21:6; Ex. XX, Doxey Decl. ¶ 4.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 18. At all times, Payne acted professionally and ethically, and

       always performed and acted in accordance with Cornell policies. See Payne Decl. at ¶¶ 2,

       6.



       19.     In the spring of 2016, the BSL director and faculty committee were discussing

possible solutions, including eliminating Payne’s position altogether. HR began to consider

whether there were other positions within the University that were suitable for Payne’s skill set.

Ex. XX, Doxey Decl. ¶ 4.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 19.



       20.    Payne’s supervisor, Margaret Shackell-Dowell, informed Payne that her position

might be eliminated, which resulted in Payne sending an email, dated June 22, 2016, to BSL

management complaining that she was not consulted in the discussion of changes. Ex. XX,

Doxey Decl. ¶ 44(b); June 22, 2016 email, Ex. BB attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 20. Following disclosing her cancer diagnosis to Ms. Shackell-

       Dowell, Payne was informed that Cornell intended to either eliminate her position or hire

       an IT Programmer to replace her. In response to learning about the possible elimination

       of her position or the replacement of her in the position, Payne reached out to BSL

       management to express her disappointment that she was not consulted regarding her role

       and was not offered constructive coaching or development opportunities to grow in the

       role. See Def. Ex. BB; Payne Decl. at ¶¶ 8-9.



         Payne Discloses Cancer Diagnosis And Cornell Hires Her in New Position

       21.    On June 13, 2016, around the same time that the BSL was considering eliminating

Payne’s research aide position, Payne notified Cornell HR Representative Katherine Doxey

(“Doxey”) that she had just been diagnosed with breast cancer. Ex. A, Complaint ¶¶ 31-32; Ex.

B, Answer ¶ 7; Ex. U, Doxey Tr. 18:5-25; June 13-20, 2016 email chain (Doxey Dep. Ex. D),

Ex. V attached hereto.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 21.

       21.1.    Payne initially informed her supervisor, Ms. Shackell-Dowell, of her diagnosis

             via email. After disclosing her diagnosis to Ms. Shackell-Dowell, Payne then

             disclosed her diagnosis to Doxey. See Vinci Decl., Ex. 2 (Deposition Transcript of

             Plaintiff Denise Payne (“Payne Trans.”)) at 8:24-11:17; Compl. ¶¶ 29-35; Vinci

             Decl., Ex. 14; Vinci Decl., Ex. 3 (Deposition Transcript of Katherine Doxey (“Doxey

             Trans.”)) at 18:5-9.



       22.      On June 23, 2016, in connection with an already-planned meeting for Doxey to

discuss performance concerns and explore Payne’s career goals to determine if there were

possible position matches outside of BSL, Payne and Doxey met in person, along with HR

representative Julie Weaver (“Weaver”). They discussed Cornell’s medical leave and disability

benefits, Payne’s medical treatment plan, concerns about Payne’s job performance and skills to

meet the business needs of BSL, and other roles at Cornell that may fit with Payne’s career

goals. Ex. A, Complaint ¶ 35; Ex. B, Answer ¶ 19; Ex. U, Doxey Tr. 19:10-21:13; Ex. WW,

Weaver Decl. ¶¶ 3-4, 6; Ex. XX, Doxey Decl. ¶¶ 5-6.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 22. The primary focus and topic of discussion of the

       June 23rd meeting was Payne’s cancer diagnosis. The only reference to any alleged

       performance issues was a discussion regarding an issue Payne had had with a faculty

       member which Doxey and Weaver described as a “communication issue.” There was no

       other discussion of performance during that meeting. See Payne Decl. at ¶¶ 10-11, 13.



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       23.     More specifically, Weaver explained Cornell’s short-term disability benefits and

the mechanics of a medical leave of absence under Policy 6.9, if Payne decided to take a medical

leave to pursue her cancer treatments. Ex. WW, Weaver Decl. ¶¶ 4, 6; Ex. E, Policy 6.9, pp. 14-

17.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 23.



       24.     Doxey identified BSL’s concerns with Payne’s job performance and explored

Payne’s skill set and career goals, as well as her interest in moving to a different position within

the University. Ex. U, Doxey Tr. 21:6-13; Ex. XX, Doxey Decl. ¶¶ 4, 6, 9.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 24. The only reference to any alleged performance issues was a

       discussion regarding an issue Payne had had with a faculty member which Doxey and

       Weaver described as a “communication issue.” There was no other discussion of

       performance during that meeting. Rather, with respect to Payne’s performance and

       qualifications, Doxey merely mentioned that the BSL wanted to hire an “IT

       Programmer”, which Defendant knew Payne was not. See Payne Decl. at ¶¶ 10-11, 13.



       25.     Doxey mentioned several potential positions, including a new data analyst

position being created within the new business analytics unit (“Business Analytics”) that was

being planned to serve the needs of a new college to be named the Cornell SC Johnson College

of Business (“JCB”). Ex. U, Doxey Tr. 21:6-22:5; Ex. XX, Doxey Decl. ¶ 9.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 25.

       25.1.       At the time of the June 23rd meeting, the position being created in the Business

             Analytics unit was merely a concept with no formal job description. However, Payne

             expressed interest and excitement in pursuing the role. See Doxey Trans. at 22:13-

             23:3.

       25.2.       Following the initial discussion about the business analytics role, Doxey

             introduced Payne to Lucinda Allen (“Allen”) via email. See Doxey Trans. at 26:20-

             22.



       26.         JCB was formed, effective July 1, 2016, through the merger of three existing

schools: Johnson Graduate School of Management, Dyson School of Applied Economics and

Management, and the School of Hotel Administration. The merger was designed to streamline

operations and eliminate overlapping academic programs and business functions.             Ex. A,

Complaint ¶ 36; Ex. B, Answer ¶ 20; Ex. U, Doxey Tr. 32:10-33:5; Ex. W attached hereto,

Lucinda Allen Deposition Transcript (“Allen Tr.”) 12:21-13:7; Ex. XX, Doxey Decl. ¶ 7.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 26.



       27.         The position within Business Analytics was only a concept when it was first

presented to Payne. There was no job description, and no pay band fixed within the HR

structure. Ex. U, Doxey Tr. 22:20-23:3, 34:4-15; Ex. XX, Doxey Decl. ¶ 9.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 27.

       27.1.    Payne was excited for the role when she first heard about it. See Doxey Trans. at

             22:13-23:3.



       28.      Payne expressed interest in the position. Ex. U, Doxey Tr. 22:13-19; Ex. XX,

Doxey Decl. ¶ 9.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 28.



       29.      After the June 23, 2016 meeting Payne wrote an email to her BSL supervisors

informing them of her meeting with HR. She asserted that BSL management had assessed her

current performance unfairly, but she felt supported and hopeful about her future. Ex. XX,

Doxey Decl. ¶ 44(c); June 23, 2016 email chain, Ex. CC attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 29.



       30.      On June 29, 2016, however, anticipating a poor performance review, Payne

complained that she was, again, being unfairly treated, and said that “an investigation would

likely show that I was unfairly targeted by a few faculty members.” She made no reference to

her cancer diagnosis or any need for disability accommodation in the workplace; indeed, her

email six days earlier acknowledged that she felt supported in her current role. Ex. XX, Doxey

Decl. ¶ 44(d); June 24-30, 2016 email chain, Ex. DD attached hereto; cf. Ex. CC.



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       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 30. Payne did not “anticipate a poor performance

       review” and in fact was shocked to learn that there were any issues with her performance

       as she had not received any negative feedback from her manager at that time. See Payne

       Decl. at ¶ 14.



       31.     In response to her June 29, 2016 email, Payne’s supervisor at the time, Margaret

Shackell-Dowell, informed Payne that her work would be graded as “successful.” Ex. DD.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 31.



       32.     Payne thereafter took a series of short-term disability leaves for surgery and

treatment on the following dates: July 5-11, August 4-8, August 29-September 2, September 12-

16, and September 26-30. Ex. A, Complaint ¶ 36; Ex. B, Answer ¶ 20; Ex. WW, Weaver Decl. ¶

7; Ex. XX, Doxey Decl. ¶ 32; November 9, 2017 email, Ex. EE attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 32.



       33.     New York State law and Cornell Policy 6.9 require an absence of longer than one

week for a medical reason before an employee is eligible for disability coverage. As such, Payne

was not eligible for short term disability for her initial absence from July 5-11, 2016. After this

statutory waiting period of one week, however, Payne was then eligible for short term disability.

Ex. XX, Doxey Decl. ¶ 33; Ex. EE; Ex. E, Policy 6.9 -Time Away from Work, pp. 5, 10



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(requiring employee, before being eligible, to “have been absent from work for at least one

week”).

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 33 but objects to the extent the facts state a legal

       conclusion and are therefore not properly asserted in Defendant’s statement of facts.



       34.    As such, all subsequent leaves Payne took after this first leave on July 5-11

included 50% pay covered by the University’s short-term disability benefit in accordance with

Policy 6.9. Payne utilized her accrued vacation and health and personal (“HAP”) leave time to

supplement the short-term disability leave pay in order to receive full compensation for each

leave. Ex. WW, Weaver Decl. ¶ 9; Ex. XX, Doxey Decl. ¶ 33; Ex. EE.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 34.



       35.    On July 20, 2016, Doxey sent an email to Payne informing her that Lucinda Allen

(“Allen”) was selected to oversee the new Business Analytics unit in JCB and, as part of the

college merger process, Cornell intended to move Payne from her existing BSL position into the

new Business Analytics unit in JCB. Ex. A, Complaint ¶ 36; Ex. B, Answer ¶ 20; Ex. U, Doxey

Tr. 26:13-22; Ex. XX, Doxey Decl. ¶ 10; Ex. W, Allen Tr. 12:25-13:11.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 35.




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       36.      Allen and Payne subsequently discussed a possible role for Payne on the Business

Analytics team, and Payne disclosed her cancer diagnosis to Allen. Ex. W, Allen Tr. 12:25-

13:17, 19:25-20:18.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 36.

       36.1.    Payne and Allen had two subsequent meetings to discuss the role on the Business

             Analytics team. During the first meeting, Allen and Payne discussed the general

             concept of the role. During the second meeting, Payne had an informal interview with

             Allen wherein Allen expressed that the compensation for the role was anticipated to

             be at the E or F-band pay scale and that the role would be an “exempt” position. See

             Payne Decl. at ¶¶ 15-17; Payne Trans. at 16:5-17:9; Compl. ¶¶ 36-38.

       36.2.    During these meetings, Allen asked Payne about her health and medical

             condition, and Payne, in response, provided Allen with details of her diagnosis and

             treatment plan. See Payne Decl. at ¶¶ 15-17.



       37.      On September 26, 2016, while Payne was out on her fifth short-term disability

leave, Weaver sent Payne an email with an offer letter, prepared on September 23rd, in which

Cornell offered Payne a promotion to Data Analyst II in the Business Analytics unit, to take

effect on September 19th before she went out on leave. Payne responded by email, accepting the

promotion and terms of employment outlined in the letter, and her pay was increased to band E,

back dated to the effective date of her promotion. Ex. A, Complaint ¶¶ 37, 39, 42; Ex. B,

Answer ¶¶ 21-23. Ex. WW, Weaver Decl. ¶ 8; Ex. XX, Doxey Decl. ¶ 11; Ex. H attached hereto,

Denise Payne Deposition Transcript (“Payne Tr.”) 177:2-22; September 23, 2016 Offer Letter



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(Payne Dep. Ex. 9), Ex. N attached hereto; September 23, 2016 email exchange, Ex. VV attached

hereto.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 37.

          37.1.   The official offer letter was signed by Doxey and sent on behalf of Allen. See

             Vinci Decl, Ex. 6. Doxey testified that Allen would have had to agree to hire Payne

             into the role as she was overseeing the business analytics unit. See Doxey Trans. at

             29:19-30:5. Allen, who had discussed Payne’s disability with her in detail, testified

             that she did not have a choice and that human resources does not seek her approval.

             See Vinci Decl., Ex. 4 (Deposition Transcript of Lucinda Allen (“Allen Trans.”)) at

             18:9-19:24; Payne Decl. at ¶ 17.

          37.2.   The job offer classified the position as an “hourly position” in the E-band pay

             scale. See Vinci Decl., Ex. 6. Notably, the pay scale was set at the lowest possible rate

             within the E-band level. See Payne Decl. at ¶ 19; Payne Trans. at 21:3-22:9. Payne

             knew that the job was set at the lowest possible rate within the E-band as she had

             access to such information through Defendant’s website. See Payne Trans. at 21:3-

             22:9.

          37.3.   The compensation level was not what Payne had expected as she had last heard

             from Allen that the role was anticipated to be an “exempt” salaried position in the E

             or F band. See Payne Decl. at ¶¶ 17-20.

          37.4.   Notably, other than her initial discussion with Allen, no one at Cornell contacted

             Payne prior to sending the offer letter to discuss the role’s classification or




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               compensation level. This was the first time that had happened in Payne’s tenure with

               Defendant. See Payne Trans. at 24:2-11.



         38.      Under the terms and conditions explained in the job offer, through December 31,

2016, Payne would have two part-time positions: she would retain her current role of Research

Support Aide with BSL for 10 hours per week, while also working 20 hours per week in the new

position of Data Analyst II with the Business Analytics team. Ex. XX, Doxey Decl. ¶¶ 12-13;

Ex. N.

         Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

         the facts in Defendant’s paragraph 38.



         39.      Payne’s promotion was unusual, in that it included a two-band increase in pay

from band C to band E, and included an increase in her total number of hours from 20 to 30

hours per week. Ex. XX, Doxey Decl. ¶ 14; Ex. N.

         Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

         in Defendant’s paragraph 39. It was not uncommon for a change in position to result in a

         two-band increase and Payne had seen it happen before. See Payne Decl. at ¶ 18.



         40.      In consultation with HR, Associate Dean Laura Syer (“Syer”) and Allen decided

to place Payne at the minimum of the E band because neither Syer nor Allen knew what Payne’s

skills and abilities really were at that time, or how those skills and abilities would align with the

needs of the Business Analytics team. The offer letter stated that the position would be paid at a




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non-exempt, hourly rate at band E. Ex. U, Doxey Tr. 31:10-32:3; Ex. XX, Doxey Decl. ¶ 15; Ex.

N.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 40.

       40.1.    At the time of the offer, Allen was aware of Payne’s cancer diagnosis and

             treatment plan prior to sending the formal offer letter. See Payne Decl. at ¶ 17; Allen

             Trans. at 18:9-19:24.



       41.      Payne accepted the position, including the proposed pay and position

classification, confirming her agreement to all the terms and conditions of the written offer. Ex.

A, Complaint ¶¶ 42, 45; Ex. B, Answer ¶ 23; Ex. H, Payne Tr. 24:12-15, 177:2-22; Ex. XX,

Doxey Decl. ¶ 11; Ex. N; Ex. VV.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 41.

       41.1.    Payne accepted the position and terms of the job offer, including the proposed pay

             and classification, as she was at that time on disability leave recovering from her

             surgery and undergoing cancer treatments and did not have the strength to push back

             on the offer. See Payne Decl. at ¶ 20. However, Payne was determined to address the

             issue and upon her return to work, asked her new manager Tammy Lindsay about her

             classification and job description. See Id.; Payne Trans. at 24:24-25:19. At that time,

             Tammy Lindsay advised that Defendant was working on it. Id.




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   Cornell Collects Employee Donations of Health And Personal Leave Time For Payne

       42.      Throughout September 2016, Payne encountered medical challenges which

caused her to miss more work than she had anticipated. Her vacation and HAP leave accruals

were almost depleted. Ex. WW, Weaver Decl. ¶ 9; Ex. H, Payne Tr. 175:18-176:23; September

21-22, 2016 email chain (Payne Dep. Ex. 8), Ex. M attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 42.

       42.1.    As a first time cancer patient, Payne did not know what to expect and often

             suffered severe symptoms and side effects of her treatments. See Payne Decl. at ¶ 21.

       42.2.    As a result. Payne used her vacation and health and personal (“HAP”) time to

             cover her absences. See Payne Decl. at ¶ 22.



       43.      In order to preserve her pay, HR representative Julie Weaver circulated an

anonymous request via e-mail to all benefits-eligible staff and faculty in JCB, pursuant to

University Policy 6.9, requesting catastrophic leave donations. Ex. WW, Weaver Decl. ¶ 9; Ex.

XX, Doxey Decl. ¶ 44(h); Ex. H, Payne Tr. 47:11-21; Ex. M; September 21, 2016 email, Ex. TT

attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 43.



       44.      In response to the leave donation request, HR received a total of 66 days of

donated time from 18 different individuals. Ex. WW, Weaver Decl. ¶¶ 9-10.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 44.

       44.1. Payne was not advised of the total amount of donated leave and, in fact, many of

       the donated leave hours were not initially offered to Payne. See Def. Ex. FF; Payne Decl.

       at ¶ 51.



       45.        To meet Payne’s immediate needs and to continue her salary at full pay during her

extended leave, HR transferred a portion of the donated time to her accrual balances and held the

remaining days in reserve. Ex. WW, Weaver Decl. ¶ 10.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 45.



       46.        As was customary practice, HR held some donated days in reserve so that if

Payne did not need all the time that was donated in response to the anonymous request, the days

could be redistributed to other employees in need. Ex. WW, Weaver Decl. ¶ 10.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 46. Weaver advised Allen that the reserved donated leave was

       not being help to allocate to other employees but was for Payne. See Def. Ex. FF. Payne

       was not made aware of the availability of the reserve donated time until much later. See

       Payne Decl. at ¶ 51.




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   Payne Went on Extended Medical Leave from October 13, 2016 to January 12, 2017

       47.    While she underwent chemotherapy, Payne was on disability leave from October

13, 2016 through January 12, 2017, in consultation with Cornell’s Medical Leaves

Administration (“MLA”). Ex. A, Complaint ¶¶ 46-47; Ex. B, Answer ¶¶ 7, 25; Ex. WW,

Weaver Decl. ¶ 8; Ex. XX, Doxey Decl. ¶ 16; Ex. H, Payne Tr. 20:7-18, 182:23-183:16; October

3, 2016 email chain (Payne Dep. Ex. 11), Ex. O attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 47.



       48.    During this time period, Payne received full pay pursuant to a combination of

Cornell’s short-term disability benefits and the donated catastrophic leave time from JCB

employees pursuant to Cornell Policy 6.9. Ex. A, Complaint ¶ 46; Ex. B, Answer ¶ 25; Ex. WW,

Weaver Decl. ¶ 9.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 48.



       49.    As of January 1, 2017, Payne’s role with the BSL ended, and her Data Analyst

position in the Business Analytics unit increased to 30 hours per week. Ex. XX, Doxey Decl. ¶¶

12, 16; Ex. WW, Weaver Decl. ¶ 11; January 10-12, 2017 email chain, Ex. FF attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 49.




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       50.      This change, while she was on disability leave, again increased Payne’s pay. The

catastrophic leave donations enabled her to receive the full value of the increase despite the fact

that she was not working. Ex. WW, Weaver Decl. ¶ 10; Ex. XX, Doxey Decl. ¶ 13.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 50.

       50.1.    The increase in pay, which was roughly $2.00 per hour, was not due to a raise by

             Cornell in light of Payne’s qualifications or skills. The increase was the result of

             Payne falling below the minimum requirement for a non-exempt E-band employee

             and was administered as a matter of course. See Payne Decl. at ¶¶ 23-24.



       51.      Payne was cleared to return to work without restriction in her 30-hour-per-week

position, effective January 12, 2017. Ex. WW, Weaver Decl. ¶¶ 10-11; Ex. FF; Ex. XX, Doxey

Decl. ¶¶ 12, 16.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 51.



       52.      In preparation for her return, Allen inquired with Julie Weaver about Payne’s

leave accruals and the means by which the Business Analytics team could accommodate Payne’s

ongoing need for treatment.       Weaver advised Allen to contact HR if Payne needed more

flexibility. Ex. FF at P000529.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 52.




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       53.     Allen noted that Payne had requested to work from home when she had radiation

treatments and said “I am a bit nervous about that only in the sense she has a lot of training ahead

…” Ex. FF at P000529.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 53.



       54.     Payne returned to work in January 2017. Ex. A, Complaint ¶ 47; Ex. B, Answer ¶

7.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 54.



       55.     In total, between her start date on September 19, 2016 and the end of her extended

leave, Payne only worked seven total days. She missed 69 out of a possible 76 workdays with

the Business Analytics team. Ex. XX, Doxey Decl. ¶ 17.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 55.



        Payne Returned From Medical Leave and Signed the First Flex Agreement

       56.     When Payne returned to work, she worked on a part-time basis 30 hours a week

as a Data Analyst II. Ex. A, Complaint ¶ 47; Ex. B, Answer ¶ 7; Ex. XX, Doxey Decl. ¶ 16; Ex.

N.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 56.



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       57.    Payne’s new supervisor, Tammy Lindsay, permitted Payne to work from home on

days Payne was scheduled to receive medical treatment, and this arrangement was memorialized

in a flexible work agreement (the “First Flex Agreement”), effective February 6, 2017. Ex. A,

Complaint ¶¶ 49-50; Ex. B, Answer ¶ 26; Ex. WW, Weaver Decl. ¶ 12; Ex. XX, Doxey Decl. ¶¶

18-19; Ex. H, Payne Tr. 27:9-28:2; Flexible Work Arrangement-Agreement, signed February 2,

2017 (Payne Dep. Ex. 1), Ex. I attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 57. Payne does not dispute that she entered into the

       First Flex Agreement but maintains that it was not to permit Payne to work from home

       solely on days she received treatment. See Vinci Decl., Ex. 7. The First Flex Agreement

       permits Payne to work remotely from home and to adjust her standard start and end time

       for work as necessary. Id. It was Payne’s understanding that the First Flex Agreement,

       and the terms thereof, could be applied both on treatment days and on recovery days

       following her cancer treatments. See Payne Decl. at ¶ 26. The First Flex Agreement was

       drafted by Payne although Lindsay and Allen discussed the terms of the First Flex

       Agreement, and those thereafter. See Payne Trans. at 29:22-24; Allen Trans. at 29:1-11.

       According to Allen, even though it was agreed in the First Flex Agreement, and those

       thereafter, that Payne was allowed to work from home, Payne’s ability to work from

       home was not a right or a given. See Allen Trans. at 41:18-25.



       58.    University Policy 6.6.13, entitled “Flexibility in the Workplace,” describes the

discretion of department heads or designees to implement this business practice to manage




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employees, time, space, workloads, and personal needs while achieving the goals of the

University. Ex. G, p. 1.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 58.



       59.      The First Flex Agreement listed a “Review of Agreement Date” of May 1, 2017,

meaning at that time Payne and the University would review the agreement to determine its

efficacy. Ex. A, Complaint ¶ 51; Ex. B, Answer ¶ 27; Ex. I.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 59.



       60.      Under the First Flex Agreement, Payne was authorized to work her six hours daily

between the hours of 7 AM and 6 PM, and provided the opportunity to work remotely from her

home. Ex. H, Payne Tr. 28:14-32:16; Ex. I.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 60.

       60.1.    There is nothing in the First Flex Agreement which expressly limits the flexibility

             in Payne’s schedule to days where she received medical treatment. See Payne Decl. at

             ¶ 26, Vinci Decl., Ex. 7.



       61.      The First Flex Agreement appended certain conditions that Payne had to fulfill in

order to work remotely. Ex. I. These conditions included the following:

       The staff member must comply with all university policies and procedures, while
       working off-site … Requests to work overtime, declare vacation or take other

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       time off from work must be pre-approved in writing by the staff’s supervisor …
       According to the terms of this Agreement, the off-site work schedule is detailed in
       this agreement. For non-exempt staff, this specification must be in accordance
       with FLSA guidelines and should include meal breaks. If the staff member needs
       to change his or her schedule, he or she agrees to obtain advance written approval
       from the supervisor. Ex. I, Appendix A (Remote Work).
       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

the facts in Defendant’s paragraph 61.

       61.1.    Payne duly followed the terms and conditions of the First Flex Agreement and

             sought pre-approval when necessary and required to do so, and gave notice of when

             she was using her remote work or flexible time under the First Flex Agreement, and

             those thereafter. See Payne Decl. at ¶¶ 27-28; Vinci Decl., Ex. 25.



       62.      While Payne was allowed to work a flexible schedule and work remotely, she was

required to keep her supervisors informed of her schedule and required to get pre-approval to

work from home. Ex. I; Ex. G; Ex. W, Allen Tr. 29:1-16, 38:5-16, 41:18-25; Ex. H, Payne Tr.

75:13-76:5, 109:18-111:11; see also Ex. H, Payne Tr. 70:18-71:2.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 62.

       62.1. Payne duly followed the terms and conditions of the First Flex Agreement and

       sought pre-approval when necessary and required to do so, and gave notice of when she

       was using her remote work or flexible time under the First Flex Agreement, and those

       thereafter. See Payne Decl. at ¶¶ 27-28; Vinci Decl., Ex. 25.

       62.2. Payne further shared details of her medical appointments and treatments with her

       supervisors and always kept them apprised of her schedule, going so far as to share her

       office calendar with Lindsay. See Payne Decl. at ¶¶ 27-28.


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       62.3. Often, even when Payne advised Lindsay of her schedule and need to work

       remotely, Lindsay would admonish Payne and accuse Payne of not keeping her updated,

       despite Payne sharing her calendar of appointments with Lindsay. See Payne Trans. at

       35:6-36:9.

       62.4. Lindsay often used Payne’s alleged failure to notify her of the need to work

       remotely or adjust her hours under the First Flex Agreement (and those thereafter) as a

       basis to deny Plaintiff her accommodations under the flex agreement(s). See Payne Trans.

       at 38:17-41:15, 73:15-24, 76:18-77:4, 77:9-19.



       63.     Between the effective date and February 20, 2017, Payne worked for Cornell

under the First Flex Agreement ‘with little to no issues [sic].” Ex. A, Complaint ¶¶ 52-53.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 63.



       64.     Around February 2017, Payne and Lindsay had disputes concerning Payne’s

requests to work from home. Ex. A, Complaint ¶¶ 53-54; Ex. WW, Weaver Decl. ¶ 14.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 64 but objects to Defendant’s characterization of the

       “dispute” between Payne and Lindsay. Lindsay began to unfairly criticize Payne’s use of

       her rights under the First Flex Agreement. See Payne Decl. at ¶¶ 29-30. Lindsay would

       refuse to approve Payne’s requests to work from home, although they would be

       appropriate under the First Flex Agreement, and complained that Payne was not properly




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       documenting her need to take time off or use the First Flex Agreement. See Payne Decl.

       at ¶30; Payne Trans. at 38:17-41:15, 73:15-24, 76:18-77:4, 77:9-19.



       65.    Payne was not providing the required notification of adjustments to her workday,

and she was not getting the required pre-approval to work from home on days when she knew

she would not be in the office. Ex. W, Allen Tr. 38:5-23; see also Ex. H, Payne Tr. 56:15-22,

61:14-18, 70:6-71:2, 75:13-16.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 65. Payne duly followed the terms and conditions of the First

       Flex Agreement and sought pre-approval when necessary and required to do so, and gave

       notice of when she was using her remote work or flexible time under the First Flex

       Agreement, and those thereafter. See Payne Decl. at ¶¶ 27-28; Vinci Decl., Ex. 25. Payne

       further shared details of her medical appointments and treatments with her supervisors

       and always kept them apprised of her schedule, and shared her office calendar with

       Lindsay which clearly noted the days when Payne was not able to be on site. See Payne

       Decl. at ¶¶ 27-28.



       66.    Payne was also not logging time she was out of the office on Lindsay’s personal

calendar, even though Lindsay had asked Payne to do this so it would be easier for Lindsay to

keep track of Payne’s whereabouts. Ex. U, Doxey Tr. 54:12-25; Ex. H, Payne Tr. 35:18-36:9,

37:16-22.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 66. Payne shared details of her medical appointments



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       and treatments with her supervisors and shared her office calendar with Lindsay which

       clearly noted the days when Payne was not able to be on site. See Payne Decl. at ¶¶ 27-

       28. Despite having access to Payne’s calendar to see all of Payne’s appointments,

       Lindsay refused to do so and demanded that Payne input the information directly onto

       Lindsay’s calendar. However, when Payne did so, Lindsay would frequently not accept

       the invitation to have the information placed on her calendar, resulting in the information

       not being on Lindsay’s calendar during a time when Lindsay continued to refuse to look

       at Payne’s shared calendar for the necessary information. See Id.; Payne Trans. at 35:6-

       36:9.



       67.      On February 20, 2017, Payne consulted MLA Representative Jillian Tubbs

(“Tubbs”) about her disputes with Lindsay. Ex. A, Complaint ¶¶ 57-58; Ex. B, Answer ¶ 29.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 67.

       67.1.    Payne reached out to Tubbs after she was admonished for allegedly not advising

             Lindsay of her schedule despite sharing her calendar or appointments with Lindsay.

             See Payne Trans. at 35:6-36:9, 41:16-42:14. Payne met with Tubbs because she felt

             she was being denied her disability accommodations. See Payne Trans. at 41:16-

             42:14. In response, Tubbs advised Payne that formal accommodations should not be

             necessary and told Payne to try and work it out with Lindsay. See Payne Trans. at

             41:16-42:14; Payne Decl. at ¶¶ 31-32.

       67.2.    Following Tubbs’ advise, Payne met with Lindsay and Allen and discussed that

             she felt she was not being properly mentored and was being denied accommodations.



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             In response, Lindsay and Allen ignored Payne’s complaint that she was being denied

             accommodations and only addressed Payne’s concern that she was not being properly

             mentored. See Payne Trans. at 43:3-9, 44:4-9.



       68.      Despite meeting with Tubbs, Payne did not request formal accommodation in

February 2017. Ex. H, Payne Tr. 41:16-42:17.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       that Plaintiff did not request formal accommodations in February of 2017 but disputes

       that this was “despite meeting with Tubbs”. During the meeting with Tubbs, Tubbs

       informed Payne that formal medical accommodations should not be necessary and told

       Payne that there must have been a misunderstanding between her and Lindsay. Instead of

       encouraging Payne to request formal accommodations, Tubbs urged Payne to work it out

       herself with Lindsay and HR. See Payne Trans. at 41:16-42:14; Payne Decl. at ¶¶ 31-32.

       In light of her meeting with Tubbs, Payne did not request formal accommodations at that

       time and set out to work out the issue with Lindsay and HR directly, which proved

       unsuccessful. See Payne Trans. at 43:3-9, 44:4-9; Payne Decl. at ¶ 32.



       69.      Around this same time, Lindsay contacted HR because she was running out of

projects that Payne could complete at home without receiving more training. Ex. WW, Weaver

Decl. ¶ 14; Ex. XX, Doxey Decl. ¶ 44(e); February 21-27 email chain, Ex. GG attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 69.




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       69.1.    In response to Lindsay’s email regarding work for Payne, Weaver responded that

             there was not much to do to push back on Payne’s remote work arrangement in light

             of the First Flex Agreement and suggested revisiting the First Flex Agreement to

             place additional limits on Payne’s ability to work remotely due to her disability. See

             Def. Ex. GG.



       70.      Payne started working full time on April 5, 2017. Ex. B, Answer ¶ 30; Ex. XX,

Doxey Decl. ¶ 21; Ex. H, Payne Tr. 93:9-16.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 70.

       70.1.    Payne returned to working full time in April of 2017 after her cancer radiation

             treatments had ended. Despite her radiation treatments being completed, Payne

             remained on active cancer treatments until approximately October of 2017. Payne

             notified Defendant of her ongoing treatment after radiation. See Payne Decl. at ¶ 33;

             Vinci Decl., Ex. 20.

       70.2.    After Payne completed radiation or “rang the bell” as Allen described it, Allen

             and Lindsay assumed that Payne would be fully able to return to work without

             restrictions but complained that, in essence, Payne thought she was still on leave

             when complaining about her accommodations. See Allen Trans. at 55:22-56:21.



                 Payne Continued to Miss Work and Failed to Get Caught Up

       71.      On May 9, 2017, Payne informed Lindsay that she would be taking a longer lunch

to meet up with a former co-worker. When Lindsay asked if Payne was going to make up this



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time, Payne cancelled the lunch. Ex. XX, Doxey Decl. ¶ 21, May 9, 2017 email chains, Ex. HH

attached hereto.

         Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

         the facts in Defendant’s paragraph 71.

         71.1.    In her responsive email to Payne, Lindsay accused Payne of “missing a lot of

               time” and stated they needed to talk about Payne’s time off. In her email, Lindsay,

               without basis, accuses Payne of using her time off too often for non-medical needs.

               See Vinci Decl., Ex. 8.

         71.2.    Payne was more than willing to make the time up but was confused by this

               inquiry as in an earlier discussion with Lindsay, Lindsay advised she was running out

               of work to give to Payne and had also cancelled Payne’s training in the same email

               correspondence. See Vinci Decl., Ex. 8; Payne Decl. at ¶ 35.



         72.      In this same email exchange, Lindsay also raised concerns that Payne was using

non-medical time off as fast as she was accruing it and that Payne was not getting caught up so

that she could be more useful to the Business Analytics team. Ex. HH; Ex. H, Payne Tr. 50:17-

51:20.

         Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

         the facts in Defendant’s paragraph 72.

         72.1.    In her email, Lindsay, without basis, accuses Payne of using her time off too often

               for non-medical needs. See Vinci Decl., Ex. 8. In reality, Payne rarely used time off

               for non-medical reasons and the vast majority of her time needed off or from home

               was due to her cancer diagnosis and treatments. Payne Decl. at ¶ 35.



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       73.      Lindsay’s comments on May 9, 2017 came after Payne had been out of the office

numerous days for non-medical related reasons. For example, Payne took a 2-hour lunch to

attend to banking on April 26; she left early the following day on April 27, due to a migraine; on

May 1, she arrived late because she took her son to convenient care and then left early because of

the nice weather that day; on May 5, she left early for house issues; and, on May 8, she arrived

late because she had banking to do again. Ex. XX, Doxey Decl. ¶ 21; May 5-8, 2017 email chain

and May 23, 2017 email chain, Ex. II attached hereto. A couple of weeks later, Payne asked for

time off for a funeral, inquiring about the University’s policy to provide a half day of sympathy

leave, meaning she would not have to use any of her vacation or HAP time. Ex. II at P000528.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 73.



       74.      Both Lindsay and Allen were concerned with how much time Payne was out of

the office, particularly the time unrelated to medical treatment: because Payne was missing so

much work, she was not completing her training, meaning there was only so much work Payne

could perform. Ex. U, Doxey Tr. 55:1-16; Ex. W, Allen Tr. 43:6-22; Ex. WW, Weaver Decl. ¶

14; Ex. XX, Doxey Decl. ¶¶ 21, 23.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 74.

       74.1.    Payne asked for more work to do and attempted to participate in training that

             Lindsay cancelled. See Vinci Decl., Ex. 8.




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                              Payne Signed Second Flex Agreement

       75.      Payne signed a second flexible work agreement (the “Second Flex Agreement”),

effective May 1, 2017, after she “rang the bell” on radiation treatments and agreed with Lindsay

that flexibility “as needed” would satisfy her needs. Ex. A, Complaint ¶¶ 75-77; Ex. B, Answer

¶ 33; Ex. WW, Weaver Decl. ¶ 15; Ex. XX, Doxey Decl. ¶ 19; Ex. H, Payne Tr. 68:4-22; Second

Flex Agreement (Payne Dep. Ex. 4), Ex. J attached hereto; Ex. W, Allen Tr. 32:1-33:4.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 75. Initially, Payne did not want to put the “as needed”

       language in the Second Flex Agreement and wanted to be more specific but Lindsay

       would not agree to that. At first Payne did not think the “as needed” language would pose

       a problem but was ultimately wrong. See Payne Trans. at 72:19-73:14.

       75.1.    Payne signed the Second Flex Agreement and “rang the bell” with respect to her

             radiation treatments only. As Payne advised Defendant’s representatives, although

             her radiation treatments were completed, she still had months more of treatment,

             including targeted monthly treatments until October of 2017. See Payne Decl. at ¶¶

             36-37; Vinci Decl., Ex. 20.



       76.      The Second Flex Agreement provided that Payne could work remotely “as

needed,” to attend to her medical appointments, treatments, and recovery periods.         Ex. A,

Complaint ¶¶ 76-77; Ex. B, Answer ¶ 33; Ex. WW, Weaver Decl. ¶ 15; Ex. XX, Doxey Decl. ¶

19; Ex. J.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 76.



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       76.1.    Initially, Payne did not want to put the “as needed” language in the Second Flex

             Agreement and wanted to be more specific but Lindsay would not agree to that. At

             first Payne did not think the “as needed” language would pose a problem but was

             ultimately wrong. See Payne Trans. at 72:19-73:14.



       77.      The Second Flex Agreement appended certain conditions that Payne had to fulfill

in order to work remotely, including the following:

       The staff member must comply with all university policies and procedures, while
       working off-site … Requests to work overtime, declare vacation or take other
       time off from work must be pre-approved in writing by the staff’s supervisor …
       According to the terms of this Agreement, the off-site work schedule is detailed in
       this agreement. For non-exempt staff, this specification must be in accordance
       with FLSA guidelines and should include meal breaks. If the staff member needs
       to change his or her schedule, he or she agrees to obtain advance written approval
       from the supervisor.

Ex. J, Appendix A.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 77.

       77.1.    Payne duly followed the terms and conditions of the Second Flex Agreement and

             sought pre-approval when necessary and required to do so, and gave notice of when

             she was using her remote work or flexible time under the Second Flex Agreement,

             and those thereafter. See Payne Decl. at ¶¶ 27-28; Vinci Decl., Ex. 25.




       78.      While Payne was allowed to work remotely, she was required to keep her

supervisors informed of her schedule and required to get pre-approval to work from home. Ex. J;




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Ex. G; Ex. W, Allen Tr. 29:1-16, 38:5-16, 41:18-25; Ex. H, Payne Tr. 70:18-71:2, 75:13-76:5;

109:18-111:11.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 78.

       78.1.    Payne duly followed the terms and conditions of the First Flex Agreement and

             sought pre-approval when necessary and required to do so, and gave notice of when

             she was using her remote work or flexible time under the Second Flex Agreement,

             and those thereafter. See Payne Decl. at ¶¶ 27-28; Vinci Decl., Ex. 25.



                 Payne Complained About HAP Issue, Which Cornell Resolved
       79.      On June 5, 2017, Payne contacted the JCB payroll office with concerns about her

timecard, claiming that she was only accruing time off and personal time on a part-time rather

than full-time basis. Ex. A, Complaint ¶¶ 60-63; Ex. B, Answer ¶ 30.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 79.



       80.      On June 6, 2017, the next day, Cornell adjusted Payne’s employment records to

reflect full-time pay and accrued HAP time, retroactive to April 5, 2017. Ex. A, Complaint ¶¶

60-63; Ex. B, Answer ¶ 30; Ex. U, Doxey Tr. 38:1-20.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 80.



       81.      With these adjustments, Cornell “fixed the issue” as Payne herself admits. Ex. A,

Complaint ¶ 63; Ex. B, Answer ¶ 30; Ex. U, Doxey Tr. 38:1-20; Ex. H, Payne Tr. 46:22-47:10.

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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 81.



        Payne Complained about Various Mistreatment and Demanded Promotion

       82.      In June and July 2017, Payne complained repeatedly that Lindsay was unfairly

micromanaging her, particularly with her timecard and work-from-home schedule. See, e.g., Ex.

A, Complaint ¶¶ 81, 89, 102; Ex. B, Answer ¶¶ 35, 36; Ex. XX, Doxey Decl. ¶¶ 22-23.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 82.

       82.1.    Lindsay would pressure Payne to work a full time schedule against her medical

             needs, admonish Payne for not notifying Lindsay of her schedule in the exact way

             Lindsay preferred, refuse to approve Payne’s requests to work from home under

             flexible work agreements and either make her take the day off or use personal time to

             make up the hours, denied Payne the ability to flex her time, and changed entries on

             Payne’s timecards to switch time previously approved to work from home to time

             used as vacation without Payne’s consent or notice to Payne. See Payne Trans. at

             34:2-10, 35:6-36:9, 73:15-24, 76:18-19, 103:17-104:9.

       82.2.    Over the course of her tenure, Payne made several complaints to Allen, Lindsay,

             Tubbs, Weaver, and Doxey that she was being denied accommodations and that her

             requests to work under terms of her flex work agreements and her timecard were

             being placed under significant scrutiny. See See Payne Trans. at 38:17-41:15, 72:19-

             24, 76:18-77:4, 77:9-19, 87:17-88:9, 103:17-104:9, 130:12-21; Doxey Trans. at 43:9-

             44:10; Vinci Decl., Exs. 18, 19, 21, 24.



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       82.3.    Payne confirmed with her co-workers also supervised by Lindsay that they did nt

             receive he same scrutiny and did not experience Lindsay making changes to their

             timecard to erase time or change entries as Payne had experienced. See Payne Trans.

             at 97:9-23.



       83.      Lindsay sometimes corrected Payne’s timecard because Payne would log more

HAP time on the timecard than she had accrued, or Payne would fail to track accurately her

flexible work schedule to document time actually worked. Ex. W, Allen Tr. 38:5-23; Ex. U,

Doxey Tr. 45:19-46:6; Ex. H, Payne Tr. 60:18-61:5; Ex. XX, Doxey Decl. ¶ 22.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 83. Payne never logged more HAP time than she had accrued

       as if she even attempted to do so, she would receive an error or be asked by the system to

       get manager approval. See Payne Decl. at ¶ 39. Payne always accurately tracked and

       logged her time worked. In contrast, Lindsay would remove time from Payne’s time-card

       as if Payne had not worked that time or had not been properly approved for the time, even

       if Payne had been See Payne Decl. at ¶ 40.



       84.      As a non-exempt employee, Payne had to keep records of her time worked and

time off on an electronic timecard. Ex. H, Payne Tr. 59:5-13; Ex. XX, Doxey Decl. ¶ 22.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 84.

       84.1.    Payne always accurately tracked and logged her time worked. See Payne Decl. at

             ¶ 40.



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          85.      At Cornell, it is standard procedure for a supervisor to review and sign-off on

timecards. Ex. W, Allen Tr. 41:9-17; Ex. H, Payne Tr. 54:7-13; Ex. XX, Doxey Decl. ¶ 22.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 85.

          85.1.    Lindsay would often retroactively change entries on Plaintiff’s time card for

                instances where Payne was approved to work from home or flex her time. Lindsay

                did not subject her other reports to such scrutiny. See Payne Trans. at 103:17-104:9,

                97:9-23.



          86.      Payne also complained to the Business Analytics team that she should be

classified as an exempt employee, and possibly receive a promotion to band F pay. Ex. A,

Complaint ¶ 83; Ex. XX, Doxey Decl. ¶¶ 23, 44(f); June 15, 2017 email chain, Ex. JJ attached

hereto.

          Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

          in Defendant’s paragraph 86. Payne complained that, based on her discussion with Allen

          before accepting the Data Analyst role, she was to be classified as an exempt employee

          and band E or F pay. See Payne Decl. at ¶ 41. Plaintiff also raised these concerns to

          Lindsay who said it was being worked on. See Payne Trans. at 24:24-25:19.



          87.      At a June 15, 2017 meeting to review Payne’s job performance, Lindsay told

Payne that she had not demonstrated to the Business Analytics team that she was responsible and

independent enough to be promoted or classified as exempt; Lindsay also expressed concerns




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about Payne’s non-medical absences and her inability to get trained and caught up with the rest

of the team. Ex. B, Answer ¶ 35; Ex. XX, Doxey Decl. ¶ 23; Ex. JJ.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 87. During a June 15, 2017 meeting, Lindsay accused Payne of

       poor performance but refused to give any examples or participate in a meeting with HR

       to discuss Payne’s alleged performance deficiencies. See Payne Decl. at ¶¶ 42-43.

       Instead, Lindsay focused almost exclusively on Payne’s time off as the basis for not re-

       classifying Payne’s job and pay scale. (payne affidavit). At no point during the meeting

       did Lindsay express a concern over Payne’s training. Id.



       88.     Payne claimed the meeting upset her so much that she began having heart

palpitations, and that she told Lindsay she was too ill to remain at work and would work from

home instead. Ex. A, Complaint ¶ 86; Ex. U, Doxey Tr. 46:3-6, 57:13-24; Ex. JJ.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 88. Payne did not tell Lindsay that she would work

       from home but requested to work from home for the remained of the day. Lindsay at first

       questioned Payne’s need to work from home and ultimately told Payne to just go home

       and not work the remained of the day. See Payne Trans. at 87:17-88:9.



       89.     Both Lindsay and HR representative Weaver told Payne that she should not work

from home if she was not feeling well, explaining that if Payne were too ill to remain at work,

she would be too ill to work from home and should take personal time. Ex. U, Doxey Tr. 46:3-6,

57:13-24; Ex. JJ.



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          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 89.



          90.    On July 5, 2017, Payne informed Lindsay that she was “not feeling well enough

to drive in today” so Payne planned to close her timecard entry for the day by documenting that

she would work from home for a couple hours and take vacation time for the rest of the day. Ex.

H, Payne Tr. 185:5-14; July 5-6, 2017 email chain (Payne Dep. Ex. 13) at 3, Ex. Q attached

hereto; Ex. WW, Weaver Decl. ¶ 17; July 5-6, 2017 email chain at P000280, Ex. KK attached

hereto.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 90.



          91.    Lindsay replied that the “request” to work from home was denied because

working from home required preapproval. Lindsay further explained that “with you being sick

and putting your time in before you work it, and with the end of the pay period today, I do not

feel comfortable with you working from home.”           Ex. Q at 2-3; Ex. KK at P000280. Lindsay

also raised several additional issues with Payne’s timecard entries for the current pay period that

Lindsay would need to fix before the close of the period. Ex. Q; Ex. KK at P000280.

          Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

          the facts in Defendant’s paragraph 91.



          92.    In response, Payne contacted Jill Tubbs in MLA seeking to file a formal request

for accommodation for her work schedule. Ex. A, Complaint ¶¶ 101-102; Ex. B, Answer ¶ 36;



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Ex. WW, Weaver Decl. ¶ 16; Ex. H, Payne Tr. 183:18-184:17; June 5 email chain at P000245-

246 (Payne Dep. 12), Ex. P attached hereto; Ex. Q at 1; Ex. KK at P000279-280.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 92.



       93.    HR had been encouraging Payne to seek formal accommodations pursuant to

Policy 6.13 as a way to resolve the tension between Payne and Lindsay in the workplace and

enable all who were involved in addressing the conflicts between them to move forward

productively. The purpose behind Policy 6.13 was to establish an “interactive process” between

faculty and staff with the university to find reasonable accommodations. At the same time,

under this policy, “Faculty and staff are responsible for initiating requests.” Ex. U, Doxey Tr.

61:16-19; Ex. XX, Doxey Decl. ¶ 25; Ex. F at 10; see generally Ex. F.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 93. No one from MLA encouraged Payne to seek formal

       accommodations; rather, Payne was advised to work it out herself with Lindsay. See

       Payne Trans. at 41:16-42:14; Payne Decl. at ¶¶ 31-32; Payne Decl. at ¶¶ 31-32. Payne

       arrived at the decision to seek formal accommodations as her attempts to work things out

       with Lindsay were unsuccessful as Lindsay continued to deny Payne her right to work

       from home and flex her time as allowed under the various flexible work agreements. See

       Payne Decl. at ¶ 45, Vinci Decl., Exs. 19, 24.




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       94.      On July 6, 2017, Payne filed a formal request for a disability accommodation. Ex.

A, Complaint ¶ 102; Ex. B, Answer ¶ 36; Ex. H, Payne Tr. 185:5-186:14; Ex. XX, Doxey Decl. ¶

25; Ex. WW, Weaver Decl. ¶ 16.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 94.

       94.1.    Payne arrived at the decision to seek formal accommodations as her attempts to

             work things out with Lindsay were unsuccessful as Lindsay continued to deny Payne

             her right to work from home and flex her time as allowed under the various flexible

             work agreements. See Payne Decl. at ¶ 45, Vinci Decl., Exs. 19, 24.



       95.      On July 7, 2017, Allen accidentally sent Payne an email that was meant for

another supervisor criticizing Payne’s work product and raising concerns about Payne’s skills

and abilities. Ex. A, Complaint ¶¶ 103, 106; Ex. W, Allen Tr. 47:25-49:7; Ex. XX, Doxey Decl.

¶ 24; July 7, 2017 email chain at P000470, Ex. LL attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 95.



       96.      After Allen realized her mistake, she tried to discuss with Payne in person her

concerns about Payne’s performance. Specifically, Allen tried to explain that she had concerns

about how Payne was developing in the group and concerns about Payne’s ability to work

independently on various projects. Ex. W, Allen Tr. 49:8-24; Ex. LL.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 96. After erroneously sending the email, Allen



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       approached Payne and apologized and thereafter the two tried to discuss the criticisms in

       the email. Payne asked for examples of her poor performance but Allen did not give her

       any. See Payne Trans. at 121:19-122:14. Payne further discussed Lindsay’s treatment of

       her to which Allen responded that she did not find anything wrong with Lindsay’s

       behavior but noted that Payne made a lot of mistake because of her accommodations. See

       Payne Trans. at 123:2-10, 124:23-125:15; Payne Decl. at ¶¶ 46-48.



       97.    In response, Payne started screaming and yelling – that she was as good as

anybody in the group – and stormed away from Allen. Ex. W, Allen Tr. 49:8-24.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 97. At no point during their conversation, did either Allen or

       Payne scream or raise their voices at one another. During their conversation, Payne raised

       Lindsay’s hostile behavior to Allen who responded that she did not find Lindsay’s

       behavior to be hostile and accused Payne’s need for accommodations to be the real

       problem. When Payne asked for examples of her alleged poor performance and the

       problems her accommodations were causing, Allen did not provide any. After several

       minutes, Payne advised she had to leave for a pre-planned meeting with Weaver in HR

       and stated it was about the concerns she had just raised to Allen regarding Lindsay’s

       behavior. Allen requested to attend the meeting but Payne declined as she wanted to meet

       with HR privately. Payne then left professionally and peacefully. See Payne Trans. at

       123:2-10, 124:23-126:11; Payne Decl. at ¶¶ 46-48.




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       98.      Payne later complained to HR, which encouraged her, again, to work with her

supervisors, including Allen. Ex. A, Complaint ¶ 109; Ex. XX, Doxey Decl. ¶ 24.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 98.

       98.1.    Payne again complained to Weaver at a pre-scheduled meeting that she was being

             subjected to discrimination and not having her medical needs accommodated. In

             addition, Payne complained of Allen’s behavior. In response, Weaver did not offer

             any substantive assistance but merely advised Payne to be “less defensive” with her

             managers. See Payne Decl. at ¶ 49; Payne Trans. at 126:12-127:6.



       99.      On July 31, 2017, as part of an annual review of pay bands and market data for

comparable positions, Cornell increased Payne’s pay to $25.88 an hour retroactively to the start

of Cornell’s fiscal year on July 1, 2017. Ex. H, Payne Tr. 188:16-189:16; July 31, 2017 Letter

(Payne Dep. Ex. 16), Ex. T attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 99. In July of 2017, while reviewing the published

       recommended pay rates for employees at her pay scale, Payne noticed that she fell below

       the minimum and immediately contacted HR. As a result of Payne’s efforts, Defendant

       increased Payne’s pay to meet the minimum requirements. See Payne Decl. at ¶ 50; Vinci

       Decl., Ex. 17.



               Cornell Approved Payne’s Request for Disability Accommodation

       100.     In response to Payne’s request for a formal disability accommodation pursuant to



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Policy 6.13, HR and MLA began working with her to meet her specific needs. Ex. F, Policy 6.13

pp. 11, 13-14; Ex. B, Answer ¶¶ 39-41; Ex. H, Payne Tr. 186:16-187:12; July 18, 2017 email

(Payne Dep. Ex. 14), Ex. R attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 100.



       101.      Payne complained that she did not have enough accrued time off to support her

absences for treatment, so Weaver arranged to allocate the remaining 20 days of donated

catastrophic leave to cover these absences. Ex. WW, Weaver Decl. ¶ 17; Ex. KK at P000279;

Ex. Q at 1.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 101.

       101.1. Until that point, Payne had been unaware that there were additional days of

              donated catastrophic leave for her to avail herself of, despite Allen having been

              advised of such leave months before. See Def. Ex. FF; Payne Decl. at ¶ 51.



       102.      On August 2, 2017, Cornell notified Payne by letter that the University had

approved her request for accommodation on the terms outlined in the letter. Ex. A, Complaint ¶

114; Ex. B, Answer ¶ 40; Ex. WW, Weaver Decl. ¶ 18; Ex. XX, Doxey Decl. ¶ 26; Ex. H, Payne

Tr. 113:18-115:5; August 2, 2017 Letter (Payne Dep. Ex. 6), Ex. L attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 102.




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       103.       Cornell granted Payne every accommodation she requested. Ex. H, Payne Tr.

119:16-23.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 103.

       103.1. The approved accommodations included (i) flexible work hours; (ii) flexible work

              space/working from home; and (iii) reduced hours when necessary. See Vinci Decl.,

              Ex. 9.

       103.2. The letter confirming Payne’s accommodations stated the following with respect

              to prior notice:

                  You have agreed that you will communicate your need as far in
                  advance as possible. For occasions when you aren’t feeling well
                  unexpectedly, you will let [Allen] and [Lindsay] know as soon as
                  you are able that you will be utilizing your accommodations. See
                  Vinci Decl., Ex. 9.


       104.       On August 14, 2017, HR held a meeting with Payne, Lindsay, and Allen to

discuss the implementation of Payne’s disability accommodation. Ex. A, Complaint ¶ 119; Ex.

B, Answer ¶ 41; Ex. U, Doxey Tr. 63:23-65:21; Ex. WW, Weaver Decl. ¶ 18; Ex. XX, Doxey

Decl. ¶ 26.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 104.

       104.1. During the meeting, Lindsay questioned why they had to meet or discuss Payne’s

              accommodations at all. Lindsay further expressed that she believed that Payne had

              received enough accommodations and that she had a business to run, and challenged

              Payne’s accommodations and Cornell’s approval of them. See Payne Trans. at

              106:20-107:9, 131:16-134:25; Payne Decl. at ¶¶ 52-54.

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       104.2. During the meeting, both Lindsay and Allen questioned Payne’s need for

          accommodations and made Payne explain why she needed certain accommodations,

          even though doing so resulted in Payne sharing extremely personal and sensitive

          information about her health and treatment. See Id.

       104.3. During the meeting, Doxey offered to go back to the MLA to discuss Payne’s

          accommodations which Lindsay showed appreciation for. See Id.



       105.   Payne explained at the meeting that she wanted to work very early in the morning

sometimes (if she had trouble sleeping because of her medication). Ex. U, Doxey Tr. 65:4-14;

Ex. XX, Doxey Decl. ¶ 26.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 105.

       105.1. During the meeting, Lindsay questioned why they had to meet or discuss Payne’s

          accommodations at all. Lindsay further expressed that she believed that Payne had

          received enough accommodations and that she had a business to run, and challenged

          Payne’s accommodations and Cornell’s approval of them. See Payne Trans. at

          106:20-107:9, 131:16-134:25; Payne Decl. at ¶¶ 52-54.

       105.2. During the meeting, both Lindsay and Allen questioned Payne’s need for

          accommodations and made Payne explain why she needed certain accommodations,

          even though doing so resulted in Payne sharing extremely personal and sensitive

          information about her health and treatment. See Payne Trans. at 106:20-107:9,

          131:16-134:25; Payne Decl. at ¶¶ 52-54.




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       105.3. During the meeting, Doxey offered to go back to the MLA to discuss Payne’s

           accommodations which Lindsay showed appreciation for. See Payne Trans. at

           106:20-107:9, 131:16-134:25; Payne Decl. at ¶¶ 52-54.



       106.   Payne also explained that she wanted to leave early a few days to go to a

chiropractic appointment, which was approved after HR contacted MLA and confirmed that the

chiropractic treatments were in the treatment plan connected to her disability. Ex. U, Doxey Tr.

65:14-21, 66:24-67:13; Ex. XX, Doxey Decl. ¶ 26; Ex. WW, Weaver Decl. ¶¶ 18-19; August 16,

2017 email chain, Ex. MM attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 106. Payne did not request to leave early but rather to

       shift her schedule to allow her to work the same number of hours and also attend her

       doctor appointments. See Payne Trans. at 106:20-107:9, 131:16-134:25; Payne Decl. at

       ¶¶ 52-54.

       106.1. During the meeting, Lindsay questioned why they had to meet or discuss Payne’s

           accommodations at all. Lindsay further expressed that she believed that Payne had

           received enough accommodations and that she had a business to run, and challenged

           Payne’s accommodations and Cornell’s approval of them. See Payne Trans. at

           106:20-107:9, 131:16-134:25; Payne Decl. at ¶¶ 52-54.

       106.2. During the meeting, both Lindsay and Allen questioned Payne’s need for

           accommodations and made Payne explain why she needed certain accommodations,

           even though doing so resulted in Payne sharing extremely personal and sensitive




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           information about her health and treatment. See Payne Trans. at 106:20-107:9,

           131:16-134:25; Payne Decl. at ¶¶ 52-54.

       106.3. During the meeting, Doxey offered to go back to the MLA to discuss Payne’s

           accommodations which Lindsay showed appreciation for. See Payne Trans. at

           106:20-107:9, 131:16-134:25; Payne Decl. at ¶¶ 52-54.



       107.   Lindsay and Allen expressed concern about Payne being unavailable during

regular business hours, to correspond with other employees on the team as well as faculty

seeking the services of the Business Analytics team, whether in terms of answering their

questions or getting training herself. Ex. U, Doxey Tr. 66:1-6; Ex. XX, Doxey Decl. ¶ 26.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 107.

       107.1. Payne was frequently on site during regular business hours. However, Allen and

           Lindsay’s concerns were unfounded as, even when on site, Payne rarely interacted in

           person with any faculty or students and the majority of Payne’s work was completed

           digitally. See Payne Decl. at ¶ 55.



       108.   The result of the meeting and the subsequent discussions was a mutual, general

understanding of Payne’s accommodation needs and the business needs of the Business

Analytics unit. Ex. U, Doxey Tr. 63:23-67:13; Ex. WW, Weaver Decl. ¶¶ 18-19; Ex. XX, Doxey

Decl. ¶¶ 26-27; September 5, 2017 email chain, Ex. NN attached hereto; Ex. MM.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 108. The result of the meeting was not a mutual understanding



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       of Payne’s accommodation needs and/or Defendant’s business needs. See Payne Decl. at

       ¶ 54.

                           Payne Signed a Third Flex Agreement

       109.    On August 16, 2017, Weaver sent an email to Doxey, Allen, and Lindsay

(copying Tubbs), summarizing the discussions from the earlier meeting and Weaver’s

subsequent discussions with Tubbs. Ex. B, Answer ¶ 41; Ex. WW, Weaver Decl. ¶¶ 18-19; Ex.

XX, Doxey Decl. ¶ 26; Ex. MM.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 109.



       110.    Payne had requested (and was granted) for the next six weeks an 8:00 AM to 4:30

PM schedule for Monday through Thursday, and a 7:30 AM to 3:00 PM schedule on Friday; she

was allowed to start work at 6:00 AM, as long as she informed Lindsay of her earlier start time

and schedule for that day; to the extent Payne needed to utilize any of her further

accommodations (e.g., reduced work hours, flexible start time, and working from home), she

would communicate this need to Lindsay and provide Lindsay an understanding of the status of

any outstanding assignments, as well as the impact of the accommodation; finally, any

accommodations that were foreseeable (e.g., doctor’s appointments and likely recovery days)

would be communicated to Lindsay as soon as Payne was aware of them. Ex. WW, Weaver

Decl. ¶¶ 18-19; Ex. XX, Doxey Decl. ¶ 26; Ex. MM at P000269.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 110.




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       111.    After several more email exchanges regarding Payne’s work schedule and

accommodations, on August 28, 2017, Payne signed a third Flexible Work Arrangement-

Agreement (the “Third Flex Agreement”). Ex. B, Answer ¶ 41; Ex WW, Weaver Decl. ¶ 19; Ex.

XX, Doxey Decl. ¶ 27; Ex. H, Payne Tr. 104:11-105:14; Third Flex Agreement (Payne Dep. Ex.

5), Ex. K attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 111.

       111.1. Prior to signing the Third Flex Agreement, Payne filed an inquiry with the EEOC

           on August 15, 2017. Defendant had notice of Plaintiff’s EEOC inquiry. See Payne

           Decl. at ¶¶ 56-57.



       112.    The Third Flex Agreement listed a “Review Date” of October 30, 2017, provided

that Payne could work remotely “as needed” to attend to her medical appointments and

treatments, and appended certain conditions that Payne had to fulfill in order to work remotely.

Ex. B, Answer ¶ 41; Ex. H, Payne Tr. 105:12-105:14; Ex. K.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph to the extent that the Third Flex Agreement does not

       explicitly limit Payne’s ability to work remotely to days she has medical appointments

       and treatments. See Vinci Decl., Ex. 11.



       113.    These conditions included the following:

       The staff member must comply with all university policies and procedures, while
       working off-site … Requests to work overtime, declare vacation or take other
       time off from work must be pre-approved in writing by the staff’s supervisor …
       According to the terms of this Agreement, the off-site work schedule is detailed in

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       this agreement. For non-exempt staff, this specification must be in accordance
       with FLSA guidelines and should include meal breaks. If the staff member needs
       to change his or her schedule, he or she agrees to obtain advance written approval
       from the supervisor.

       Ex. K.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 113.

       113.1. Payne duly followed the terms and conditions of the First Flex Agreement and

           sought pre-approval when necessary and required to do so, and gave notice of when

           she was using her remote work or flexible time under the First Flex Agreement, and

           those thereafter. See Payne Decl. at ¶¶ 27-28; Vinci Decl., Ex. 25.




       114.     In addition, the Third Flex Agreement included the following “Additional

comments/notes” agreed upon by Payne: “When working from home I will communicate my

remote needs as far in advance as possible … I will add to my supervisor’s calendar what I will

be working on remotely from home on a daily basis and I will communicate on a daily basis the

status of that work.” Ex. K.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 114.



       115.     While Payne was allowed to work remotely, she was required to keep her

supervisors informed of her schedule and required to get pre-approval to work from home. Ex.

K; Ex. G; see also Ex. W, Allen Tr. 29:1-16, 38:5-16, 41:18-25; Ex. H, Payne Tr. 70:18-71:2,

75:13-76:5.


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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 115.

       115.1. As per the formal confirmation of Payne’s accommodations, Payne was required

          to get approval as soon as practicable and would still be able to use her

          accommodations when she felt unexpectedly by telling Allen and Lindsay that she

          was invoking her accommodations. See Vinci Decl., Ex. 9.



                          Changes in the Business Analytics Team

       116.   In the Fall of 2017, Lindsay stopped serving as a manager for the Business

Analytics team in order to work more from home herself, after moving a substantial distance

away from the Cornell campus. Ex. U, Doxey Tr. 69:10-70:12; Ex. XX, Doxey Decl. ¶ 28.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 116.



       117.   As a result, Allen took over supervising Payne again. Ex. U, Doxey Tr. 70:13-16;

Ex. H, Payne Tr. 145:19-25; Ex. W, Allen Tr. 24:6-25:7.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 117.



       118.   On September 5, 2017, Tubbs emailed Payne, asking how the accommodations

were working; Payne responded “[t]he accommodations are working fine, I’m grateful that the

medical leaves board approved and HR has backed up my flex time etc. Thanks for checking

in!” Ex. XX, Doxey Decl. ¶¶ 27, 44(g); Ex. NN.



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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 118.

       118.1. After Lindsay was removed as Payne’s manager, the implementation of Payne’s

          accommodations ran smoothly and Payne’s accommodations were seemingly being

          adhered to by Allen and later Laura Syer (“Syer”). See Payne Decl. at ¶ 64.



       119.    On September 12, 2017, Payne informed HR that she had complained to the

EEOC after the August 14, 2017 meeting, specifically alleging that her needs had not been met;

in this same email, however, Payne acknowledged that she was no longer getting “harassment

when I request time off.” Ex. A, Complaint ¶ 127; Ex. B, Answer ¶ 44; Ex. WW, Weaver Decl.

¶ 20; September 12, 2017 email chain at P000691, Ex. OO attached hereto; Ex. H, Payne

Tr.135:4-22.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 119.



       120.    The next day, on September 13, 2017, Syer sent out a meeting invitation to the

Business Analytics team for a September 21, 2017 meeting to go over, among other things,

upcoming projects and the structure of the team. Ex. A, Complaint ¶ 128; Ex. H, Payne Tr.

137:5-9, 139:3-25.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 120.




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       121.   Payne denied the meeting request and contacted Doxey to inquire about the

subject of the meeting; Doxey explained the nature of the meeting and encouraged her to attend.

Ex. A, Complaint ¶ 129; Ex. H, Payne Tr. 137:5-9, 139:3-25; Ex. U, Doxey Tr. 71:11-23.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 121.



       122.   On September 15, 2017, Payne met with Doxey, who informed her that Lindsay

would no longer be her supervisor. Ex. A, Complaint ¶¶ 130-132; Ex. U, Doxey Tr. 71:11-23.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 122. During Payne’s meeting with Doxey, Doxey was

       the first to inform Payne that Lindsay had already been removed as Payne’s supervisor.

       See Doxey Trans. at 71:11-21.



       123.   At this meeting, Payne renewed her complaints that she was misclassified and

should be an exempt employee. Ex. U, Doxey Tr. 39:13-40:23, 71:24-72:5.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 123.

       123.1. Payne again raised her concern regarding her classification and asked for a formal

          job description for her position. See Payne Decl. at ¶¶ 59-61. Payne also discussed her

          ongoing complaints regarding Lindsay’s failure to accommodate her disability and

          her EEOC Complaint. See Payne Trans. at 142:4-16.




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       124.   HR later consulted with Syer, but she declined to change Payne’s employment

status because of uncertainty about the job and the future of the department, along with concerns

about Payne’s job performance. Ex. U, Doxey Tr. 39:13-40:23, 42:9-24, 51:11-52:15.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 124.



       125.   In early October 2017, Allen accepted a new position in the Engineering College,

and Syer took over supervising both Lindsay and Payne, the only two employees left in the

Business Analytics unit. Ex. U, Doxey Tr. 70:17-24; Ex. W, Allen Tr. 60:12-15; Ex. XX, Doxey

Decl. ¶ 28.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 125.



       126.   After Syer took over supervising duties, Payne complained when Syer asked

Payne to copy Lindsay on all surveys and rankings work because Payne felt that Lindsay was

still supervising her. Ex. XX, Doxey Decl. ¶ 28; October 10-13, 2017 email chain at P000872,

Ex. PP attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 126. Payne did not complain about having to copy Lindsay on

       correspondence but rather requested clarification of Lindsay’s role. See Vinci Decl., Ex.

       12. In addition, Payne advised Syer of her ongoing and pending EEOC complaint. See

       Vinci Decl., Ex. 12.




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       127.   As Syer later explained, however, Lindsay was not supervising Payne; Lindsay

was instead reviewing and proofreading the surveys and rankings work for accuracy, as a

“another set of eyes,” because the work needed to be validated and would be subject to scrutiny

from outside of Cornell. Ex. XX, Doxey Decl. ¶ 28; Ex. PP at P000872; see also Ex. U, Doxey

Tr. 70:25-71:10.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 127.

       127.1. Syer further questioned Payne’s act of asking for clarification of the various roles

          within the Business Analytics team. See Vinci Decl., Ex. 12.



       128.   Payne also complained to HR a couple weeks later on November 6, 2017, that

Syer had forwarded Payne’s time off request to Lindsay, as it appeared to her Lindsay would be

the one approving the request. Ex. XX, Doxey Decl. ¶ 29; November 6-8, 2017 email chain at

P000238, Ex. QQ attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 128.

       128.1. Payne was particularly concerned with Lindsay reviewing her timecard in light of

          the past issues regarding Payne’s use of her accommodations and flex work

          arrangements. See Payne Decl. at ¶¶ 62-63.



       129.   Syer later explained that she did not have access to Payne’s timecard to approve

the time off, so she had asked Lindsay to send her a screenshot of the card. Ex. XX, Doxey

Decl. ¶ 29; Ex. QQ at P000237.



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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 129.



   Cornell Decides to Disband Business Analytics Team, Laying Off Lindsay and Payne

       130.   Shortly after Allen left for her new job in the Engineering College, JCB decided

to eliminate the Business Analytics unit.    Ex. XX, Doxey Decl. ¶¶ 31-36; Justification to

Eliminate Business Analytics Department in the SC Johnson College of Business, dated

November 14, 2007, at 514, Ex. RR attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 130.

       130.1. As a result of the elimination, Payne’s role was split between a new department

          under Amanda Shaw and a department within Academic Affairs under Beth Fox.

          Payne was trained in all of the databases that were now being utilized by the two

          separate departments. See Payne Decl. at ¶ 65.



       131.   By this time, another department within JCB, Academic Affairs, had already

taken over management of some of the databases on which the Business Analytics group had

been working. Ex. U, Doxey Tr. 73:16-25; Ex. RR at 513-14.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 131.

       131.1. As a result of the elimination, Payne’s role was moved to a new department under

          Amanda Shaw and other roles were moved within Academic Affairs under Beth Fox.




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          Payne was trained in all of the databases that were now being utilized by the two

          separate departments. See Payne Decl. at ¶¶ 65-67.



       132.   Because of this workflow change, some of the employees in the group had already

shifted to Academic Affairs. Ex. U, Doxey Tr. 73:25-74:4; Ex. RR at 513-14.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 132.

       132.2. Pursuant to Cornell’s Policy 6.10.19: “Staff Tranfers”, considering that Payne had

       already had the skills and performed the work necessary to fulfill the Information &

       Research Analyst role, Cornell had the option of simply transferring Payne into the role.

       See Vinci Decl., Ex. 13. Payne was not transferred to either of the new departments

       fulfilling her previous role. See Payne Decl. at ¶ 67.



       133.   Then Allen left, and Syer began to reassess workflow and personnel.           She

believed there was both a need for an experienced “higher level” employee like Allen and,

simultaneously, not enough work for Payne and Lindsay at their skill level. Ex. U, Doxey Tr.

74:4-22; Ex. RR at 514.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 133.



       134.   Syer felt as if there was only enough work for one employee: half of the work that

was Payne’s (rankings and surveys) and half that was Lindsay’s (key performance indicators).

Ex. U, Doxey Tr. 74:4-22; Ex. RR.



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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 134.



       135.   Given that Allen was gone, and there was only enough work for one employee, a

proposal was made to eliminate the Business Analytics team and have the remaining work done

by one employee, who would be placed in Academic Affairs. Ex. U, Doxey Tr. 74:11-75:14; Ex.

RR at 514.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 135.



       136.   The proposed position of Information & Research Analyst would be at the F level

pay band, which was in-between Payne’s E band position and Lindsay’s G band position. Ex. U,

Doxey Tr. 75:10-14; Ex. RR at 514-515; Ex. XX, Doxey Decl. ¶¶ 36-37.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 136.



       137.   The proposed Information & Research Analyst position was also an

amalgamation of Payne’s and Lindsay’s prior duties, along with additional new job functions.

Ex. U, Payne Tr. 149:16-20; Ex. RR at 514-515; Ex. XX, Doxey Decl. ¶¶ 36-37.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

       the facts in Defendant’s paragraph 137. The new Information & Research Analyst

       position was not just an amalgamation of Payne’s and Lindsay’ former roles and Payne




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       had performed all of the duties as outlined in the new position’s job description at some

       point during her tenure in the Data Analyst role. See Payne Decl. at ¶ 68.



       138.    Pursuant to University Policy 6.12 – Separations, Voluntary and Involuntary,

Including Layoff (Excluding Academic and Bargaining Unit Staff) – the team had to draft a

rationale for the proposed layoff, outlining the changes and where the work was going. Ex. U,

Doxey Tr. 74:23-75:5; Ex. RR; Ex. XX, Doxey Decl. ¶ 34.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 138.



       139.    The proposal was then reviewed by numerous departments, including Workforce

Diversity Inclusion, Policy and Labor Relations, and even Counsel’s Office, to verify

compliance with the University’s obligations under Policy 6.12 and the law. Ex. U, Doxey Tr.

75:5-9; Ex. XX, Doxey Decl. ¶ 34.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 139.



       140.    On December 1, 2017, both Payne and Lindsay were informed that they were

going to be laid off, effective January 2, 2018. Ex. A, Complaint ¶ 139; Ex. B, Answer ¶ 47; Ex.

XX, Doxey Decl. ¶ 35; Ex. U, Doxey Tr. 75:15-19; Ex. H, Payne Tr. 147:24-148:19; December

1, 2017 letter, Ex. SS attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 140.



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       141.   Both Lindsay and Payne were told about the new Information & Research

Analyst, band F position in Academic Affairs and encouraged to apply. Ex. U, Doxey Tr. 76:2-

14; see also Ex. SS; Ex. RR at 514-515; Ex. XX, Doxey Decl. ¶¶ 36-37.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 141.

       141.1. Payne expressed her interest in the position and was confident she would be a

          good fit as she had performed all of the duties as outlined in the new position’s job

          description at some point during her tenure in the Data Analyst role. See Payne Decl.

          at ¶¶ 65-68.

                          Payne Applies To Other Jobs At Cornell

       142.   Assistant Dean of Student Services, Amanda Shaw, launched a search for the

Information & Research Analyst, band F position. Ex. XX, Doxey Decl. ¶ 37.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 142.

       142.1. Payne had previously worked with Amanda Shaw, who had compliments Payne’s

          performance on her Rankings and Surveys work. See Payne Decl. at ¶¶ 65-66.

       142.2. Pursuant to Cornell’s Policy 6.10.19: “Staff Tranfers”, considering that Payne had

          already had the skills and performed the work necessary to fulfill the Information &

          Research Analyst role, Cornell had the option of simply transferring Payne into the

          role. See Vinci Decl., Ex. 13.



       143.   Both Lindsay and Payne applied for the position and were granted interviews.

Ex. U, Doxey Tr. 76:13-17.



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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 143.



       144.   Neither Lindsay nor Payne was hired for this position. Ex. U, Doxey Tr. 77:10-

11; Ex. WW, Weaver Decl. ¶ 23.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 144.



       145.   Shaw instead decided to hire another candidate with more experience and a better

set of skills for the position. The successful candidate had a Bachelor of Science in Hotel

Management, as well as an MBA and relevant work experience at IBM. On the other hand,

Payne had a Bachelor of Science in Biological Sciences, and the search committee felt that she

did not have the higher-level skills necessary to analyze data, which was essential to the role.

Ex. U, Doxey Tr. 77:12-15; Ex. WW, Weaver Decl. ¶ 23; Ex. XX, Doxey Decl. ¶ 37.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       that Shaw hired another candidate but disputes that such candidate’s qualifications and

       experience were superior to Payne’s.



       146.   Payne had not yet filed her EEOC charge at the time Shaw made the interviewing

and hiring decisions in January 2018. Ex. WW, Weaver Decl. ¶ 23; Ex. XX, Doxey Decl. ¶¶ 37,

40; Ex. C (EEOC Charge).

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 146. Payne had not formally filed a charge with the EEOC at



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       the time of this interviewing and hiring process but she had already filed an inquiry with

       the EEOC which Defendant and Defendant’s HR agents were aware of. See Payne Decl.

       at ¶¶ 56-57.



       147.   Payne interviewed for one other position at Cornell: a Project Manager band G

position. Ex. U, Doxey Tr. 77:22-78:10; Ex. XX, Doxey Decl. ¶ 38.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 147.



       148.   Assistant Dean of Academic Affairs, Beth Fox, was in charge of the search and

formed a search committee. Ex. U, Doxey Tr. 78:2-14; Ex. XX, Doxey Decl. ¶ 38.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 148.



       149.   The search committee chose another candidate, who had the most relevant

experience and strong skills to gather and to analyze data. Ex. U, Doxey Tr. 78:15-20; Ex. WW,

Weaver Decl. ¶ 23; Ex. XX, Doxey Decl. ¶ 38.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       that the committee hired another candidate but disputes that such candidate’s

       qualifications and experience were superior to Payne’s.



       150.   The successful candidate not only had a Bachelor of Arts in Linguistics and

Master’s Degree in Public Administration but relevant work experience at another university.



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On the other hand, the committee saw no evidence Payne possessed the necessary higher-level

analytical skills, and was concerned about her communication skills and her ability to work well

with faculty, all of which were essential skills for the position. Ex. XX, Doxey Decl. ¶ 38.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       that the committee hired another candidate but disputes that such candidate’s

       qualifications and experience were superior to Payne’s.



       151.    As Fox explained to Payne later, the successful candidate had the most experience

leading and managing complex college or program-wide projects with faculty, which was a

“significant component” of the position. Ex. XX, Doxey Decl. ¶ 39; February 7, 2017 email

chain, Ex. UU attached hereto.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       that the committee hired another candidate but disputes that such candidate’s

       qualifications and experience were superior to Payne’s.



       152.    Payne had not yet filed her EEOC charge at the time Fox made her hiring decision

in January 2018. Ex. WW, Weaver Decl. ¶ 23; Ex. XX, Doxey Decl. ¶¶ 37, 40; Ex. C, EEOC

Charge.

       Payne’s Response: For the purpose of summary judgment only, Payne disputes the facts

       in Defendant’s paragraph 152. Payne had not formally filed a charge with the EEOC at

       the time of this hiring decision but she had already filed an inquiry with the EEOC which

       Defendant and Defendant’s HR agents were aware of. See Payne Decl. at ¶¶ 56-57.




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                         Lindsay Granted Short Term Employment

       153.    A couple months after the layoff, Lindsay was hired for a short-term, six-month

project assisting certain Cornell schools with reaccreditation. Ex. U, Doxey Tr. 79:2-10, 20-23.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 153.



       154.    Lindsay had been through the accreditation process before, so the Hotel School

asked her to help. Ex. U, Doxey Tr. 79:4-19.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 154.



       155.    Lindsay did not work for the University after this six-month project concluded.

Ex. U, Doxey Tr. 79:24-80:2.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 155.



                      Payne Files Charge of Discrimination with EEOC

       156.    On February 22, 2018, Payne wrote Tubbs an email explaining that because

Cornell did not hire Payne back, she was proceeding with her EEOC claim. Payne went on to

write “I just want you to know that your department, and you personally, did an excellent job of

supporting me in my time of need.” Ex. H, Payne Tr. 187:14-188:14; January 31-February 22,

2018 email chain (Payne Dep. Ex. 15), Ex. S attached hereto.




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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 156.



       157.   On March 19, 2018, Payne filed a Charge of Discrimination with the EEOC. Ex.

A, Complaint ¶ 5; Ex. B, Answer ¶ 5; Ex. XX, Doxey Decl. ¶ 39; Ex. C.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 157.



       158.   On March 28, 2018, the EEOC informed Cornell of Payne’s filing of the Charge

of Discrimination. Ex. C.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 158.



       159.   On April 12, 2018, the EEOC asked Cornell to provide a statement of position in

response to Payne’s allegations. Ex. XX, Doxey Decl. ¶ 41.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 159.



       160.   In response to the EEOC’s request for information, Cornell responded three times,

providing the Commission information concerning Payne’s employment, Cornell’s policies

regarding disability accreditation and how these policies were implemented to benefit Payne, and

Payne’s layoff when JCB eliminated the Business Analytics unit. Ex. WW, Weaver Decl. ¶ 24;

Ex. XX, Doxey Decl. ¶ 41.



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       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 160.



       161.    In three separate responses, the University provided the EEOC with 588 pages of

documentation, including, but not limited to, copies of various Cornell policies; documents

related to the job searches for the Information & Research Analyst, band F position and Project

Manager band G position; Payne’s flexible work agreements; Payne’s correspondence with

Lindsay, Allen, and HR; and the layoff justification memorandum outlining the rationale for

eliminating Business Analytics and laying off the two employees, Lindsay and Payne. Ex. XX,

Doxey Decl. ¶¶ 41-44.

       Payne’s Response: For the purpose of summary judgment only, Payne does not dispute

       the facts in Defendant’s paragraph 161.



       162.    Based on its analysis of Cornell’s submissions, on August 13, 2018, the EEOC

closed its investigation and dismissed the charges against the University, noting “[b]ased upon its

investigation, the EEOC is unable to conclude that the information obtained establishes

violations of the statutes.” Ex. B, Answer ¶ 6; Ex. D.

       Payne’s Response: For the purpose of summary judgment only, Payne partially disputes

the facts in Defendant’s paragraph 162 and objects to Cornell’s piecemeal description of the

EEOC’s findings. The EEOC’s statements in the Dismissal and Notice of Rights also states:

“This does not certify that the respondent is in compliance with the statutes.” See Vinci Decl.,

Ex. 5; Def. Ex. C.




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Dated: April 14, 2020
       New York, New York

                                   Respectfully Submitted,


                                   /s/ Gabrielle Vinci
                                   Gabrielle Vinci, Esq.




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